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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           Case No.: 20-cr-03246-DMS
12                                      Plaintiff,
                                                         ORDER
13   v.
14   DEREK GLEESON,
15                                  Defendant.
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18         The Court is in receipt of Defendant Derek Gleeson’s Emergency Motion to
19   Continue his self-surrender date by three weeks (“Motion”). (See ECF No. 79.) The
20   government does not oppose this continuance. Good cause appearing, the Court HEREBY
21   GRANTS Defendant’s Motion. Defendant shall self-surrender to the BOP/USM office by
22   September 22, 2023, at 2:30 p.m.
23         IT IS SO ORDERED.
24   Dated: August 29, 2023                 ____________________________
25                                          Hon. Dana M. Sabraw, Chief Judge
                                            United States District Court
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